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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 BALANCED BRIDGE FUNDING LLC                     :
                                                 :
               Petitioner,                       : Civil Action No. 2021-cv-04073-PBT
                                                 :
         v.                                      :
                                                 :
 MITNICK LAW OFFICE, LLC                         :
                                                 :
               Respondent.                       :

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 MITNICK LAW OFFICE, LLC                         :
                                                 : Civil Action No. 2021-mc-00075- PBT
               Petitioner,                       :
                                                 :
         v.                                      :
                                                 :
 BALANCED BRIDGE FUNDING LLC                     :
                                                 :
               Respondent.                       :

               BRIEF IN SUPPORT OF MOTION TO QUASH SUBPOENA

I.      Introduction/Overview

        This is a summary proceeding to confirm a $2.3 million arbitration award entered in favor

of Petitioner Balanced Bridge Funding LLC (“Balanced Bridge”) against Respondent Mitnick Law

Office, LLC (“Mitnick Law”). Balanced Bridge’s petition to confirm has been pending before the

Court since September 2021. Mitnick Law’s asserted “defense” to the petition to confirm the

award is that Fox Rothschild LLP (“Fox Rothschild”) had a conflict in representing Balanced

Bridge adverse to Mitnick Law due to a prior limited representation of Mitnick Law. The arbitrator

considered and rejected Mitnick Law’s motion to disqualify Fox Rothschild. Undeterred, and

hoping to delay confirmation of the award, Mitnick Law issued a subpoena to Fox Rothchild

seeking a volume of materials in an improper attempt to revisit an issue that has been determined.

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        The subpoena is improper, for at least three reasons. First, because this is a summary

proceeding to confirm an arbitration award, there is no role for discovery directed to issues that

were arbitrated to conclusion. Second, the disqualification issue at which the subpoena is aimed

is precluded because the arbitrator fully considered and rejected Mitnick Law’s disqualification

argument. That ruling precludes the resurrection of that argument in this summary proceeding.

Mitnick Law also waived the issue, in that it failed to take discovery on the issue or renew the

motion to disqualify in the arbitration despite the arbitrator’s allowance to do so.

        Third, the subpoena is improper because it seeks materials that are obviously subject to

attorney-client privilege and work product doctrine. The subpoena should be quashed.

II.     Pertinent Facts and Procedural History

        Balanced Bridge provides legal funding and specialty finance services to attorneys and

litigants. Under successive written agreements culminating in a Master Non-Recourse Purchase

and Sale Agreement dated June 2, 2017, Balanced Bridge provided Mitnick Law with millions of

dollars in monetary advances against Mitnick Law’s anticipated attorney’s fees earned but not yet

received in the NFL Concussion Class Action. After making some payments to Balanced Bridge,

Mitnick Law breached the contract by, among other things, failing to pay Balanced Bridge after

receiving attorney’s fees in the NFL Concussion Class Action.

        On May 6, 2020, Balanced Bridge commenced an arbitration against Mitnick Law before

the American Arbitration Association. The Hon. Francis J. Orlando, Jr., A.J.S.C. (retired), a 20-

year veteran of the New Jersey Superior Court, served as Arbitrator. The dispute in arbitration

was straightforward, in that the contract required Mitnick Law to pay over legal fees, and Mitnick

Law instead kept those fees for itself. Mitnick Law’s opposition in the arbitration consisted almost



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entirely of: (1) disputing the validity and enforceability of the contract under which it performed

prior to its breach; and (2) objecting to the representation of Balanced Bridge by Fox Rothschild.

        The latter issue is the subject of the subpoena that gives rise to the current motion, and

Mitnick Law asserted it at the outset of the arbitration via a motion to disqualify Fox Rothschild

from representing Balanced Bridge. Specifically, Mitnick Law asserted that Fox Rothschild’s

limited former representation of Mitnick Law precluded Fox Rothschild from representing

Balanced Bridge adverse to Mitnick Law.

        Following extensive briefing and argument by the parties, Judge Orlando denied Mitnick

Law’s motion to disqualify in a reasoned opinion that cited the pertinent case law and appropriately

applied Rule of Professional Conduct 1.9. A copy of the opinion is attached as Exhibit A. Judge

Orlando correctly denied the motion, because Fox Rothschild’s former representation of Mitnick

Law is not substantially related to this dispute under Rule of Professional Conduct 1.9, and was

limited to: (1) a referral fee dispute with another law firm regarding clients in the NFL Concussion

Class Action; and (2) counseling regarding common benefit fees in the NFL Concussion Class

Action. The former representation did not extend to Mitnick Law’s contract with Balanced Bridge,

and ended before the payment to Mitnick Law of any attorney’s fees from the NFL Concussion

Class Action. The common benefit fees due to Mitnick Law were not at issue in the arbitration

because Mitnick Law paid them to Balanced Bridge long before the arbitration commenced, during

the period in which it performed under the parties’ agreement. Finally, Fox Rothschild had no

confidential information regarding Mitnick Law from the prior representation pertinent to the

Balanced Bridge dispute. The pertinent documents for the arbitration were those showing the legal

fees received by Mitnick Law but not turned over to Balanced Bridge. Fox Rothschild did not

have those documents, which required significant discovery efforts in the arbitration. Mitnick Law

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begrudgingly produced some of those documents in the arbitration after discovery motion practice,

and Balanced Bridge obtained other payment documents via third-party subpoena. Though it had

no obligation to do so, Fox Rothschild had also taken the additional step of screening the attorneys

who had handled the prior Mitnick Law representation from representing Balanced Bridge in the

arbitration.

        It is important to note that, although there was no basis to disqualify Fox Rothschild, Judge

Orlando denied the motion to disqualify without prejudice, and even granted Mitnick Law an

opportunity to take further discovery on the alleged conflict issue and to raise it again later in the

arbitration. Mitnick Law did not pursue that discovery, and did not renew the motion to disqualify

in the ensuing year of arbitration proceedings. In declining the opportunity to pursue further

discovery and renew the motion before entry of the final order, Mitnick Law abandoned the

conflict argument in the arbitration.

        On September 1, 2021, after over a year of litigation culminating in a multi-day evidentiary

hearing, Judge Orlando entered a final award of over $2.3 million in favor of Balanced Bridge,

plus contractual prevailing party fees and interest. On September 13, 2021, Balanced Bridge filed

a petition to confirm its arbitration award, which is docketed as Case No. 2021-cv-04073. Mitnick

Law later filed a petition to vacate the arbitration award, which is docketed as Case No. 2021-mc-

00075-GAM. The cases are both assigned to Judge Tucker.

        On Friday, February 11, 2022, at 6:53 p.m., Mitnick Law emailed the subpoena at issue to

the undersigned. The correspondence and subpoena are attached as Exhibit B. The subpoena is

directed to the Managing Partner of Fox Rothschild, and was not served in accordance with Fed.

R. Civ. P. 4 or 45. Among other things, the subpoena seeks:

        1. Fox Rothschild’s engagement agreements and amendments with Balanced Bridge;

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        2. “All correspondence” between Fox Rothschild and Balanced Bridge regarding Mitnick

              Law and/or Craig Mitnick;

        3. “All correspondence” between Fox Rothschild and Balanced Bridge regarding the NFL

              Concussion Litigation, “whether personal or professional in nature”;

        4. All invoices and time sheets of Fox Rothschild for services rendered “or anticipated to

              be rendered” to Balanced Bridge;

        5. The “complete unedited file” in Balanced Bridge v. Jones, a separate litigation against

              Mitnick Law client Jones for breach of a funding agreement;

        6. “All internal and external correspondence to, from, or between” Fox Rothschild

              attorneys related to Craig Mitnick, Mitnick Law, Balanced Bridge, or Joseph Genovesi

              (Balanced Bridge’s principal); and

        7. Fox Rothschild’s policy documents regarding conflicts.

        As these requests demonstrate, the subpoena plainly aims to re-litigate the disqualification

issue that Judge Orlando adjudicated in the arbitration.

        The subpoena states a compliance date of March 1, 2022.

III.    Argument

        A.       The Subpoena Is Improper For This Summary Proceeding

        The Federal Arbitration Act (“FAA”) provides in relevant part that a court, absent narrow

grounds stated in the FAA, “must grant” a timely request for confirmation of an arbitration award.

Teamsters Loc. 177 v. United Parcel Serv., 966 F.3d 245, 251 (3d Cir. 2020) (citing FAA § 9, 9

U.S.C. § 9). Put differently, the Court “may deny confirmation of an arbitration award only where

(1) the award was procured through fraud or other undue means; (2) one or both of the arbitrators

were partial or corrupt; (3) the arbitrators committed misconduct; or (4) the arbitrators exceeded

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their power.” Balanced Bridge Funding, LLC v. Harper, No. CV 20-6525, 2021 WL 3027018, at

*1 (E.D. Pa. Feb. 23, 2021) (citing 9 U.S.C. § 10(a), and describing a petitioner’s burden for

confirming an arbitration award as “very low”).

        Mitnick Law’s subpoena is part of its larger effort to re-litigate the arbitration within this

proceeding to confirm the arbitration award. Mitnick Law seeks a de novo review of the

arbitration, but that is not the nature of these proceedings. Rather, “[T]he confirmation of an

arbitration award is a summary proceeding that merely makes what is already a final arbitration

award a judgment of the court.” Teamsters, 966 F.3d at 248 (emphasis added). The summary

proceedings that result from an FAA motion to confirm or vacate an arbitration award are “not

intended to involve complex factual determinations, other than a determination of the limited

statutory conditions for confirmation or grounds for refusal to confirm.” Id. at 252. See also PG

Publishing Inc. v. Newspaper Guild of Pittsburgh, 19 F. 4th 308, 313-14 (3d Cir. 2021) (“A court

can, within its discretion, decide an FAA motion without conducting a full hearing or taking

additional evidence.”), O.R. Sec., Inc. v. Profe’l Planning Assoc., Inc., 857 F.2d 742, 745 (11th

Cir. 1988) (rejecting contention that an FAA proceeding to vacate an arbitration award should

“develop into full scale litigation, with the attendant discovery, motions, and perhaps trial”).

        B.     Mitnick Law is Precluded from Re-Litigating the Disqualification Issue

        While Mitnick Law’s desire for a de novo review of the arbitration proceedings is improper

under the foregoing authorities, res judicata and collateral estoppel provide another basis on which

to quash the subpoena. Although the award awaits confirmation from the Court as a judgment, res

judicata and collateral estoppel extend to the adjudication of the disqualification issue. “Judicial

proceedings ordinarily accord preclusive effect to arbitrations that have already adjudicated the

same claims or defenses, even when the award is unconfirmed.” Sheet Metal Workers Int'l Ass'n

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Loc. Union No. 27, AFL-CIO v. E.P. Donnelly, Inc., 673 F. Supp. 2d 313, 320 (D.N.J. 2009)

(citations omitted). The Restatement (Second) of Judgments, §§ 83–84 (1982) states the judicial

consensus that “a valid and final award by arbitration has the same effects under the rules of res

judicata ... as a judgment of a court” as long as the following five “essential elements of

adjudication” are satisfied:

        (1) adequate notice to the parties who are to be bound by arbitration;
        (2) the right to present evidence and legal argument, and to rebut evidence and legal
        argument by the opposing parties;
        (3) a formulation of issues of law and fact concerning the specified parties and a
        specific transaction;
        (4) a rule of finality, specifying a point in the proceeding when presentations are
        terminated and a final decision is rendered; and
        (5) other procedures sufficient to determine the matter in question conclusively.

Id. at 321 (citing Witkowski v. Welch, 173 F.3d 192, 200 (3d Cir. 1999)). Likewise, “[u]nder

Pennsylvania law, arbitration proceedings and their findings are considered final judgments for the

purposes of collateral estoppel [aka issue preclusion].” Witkowski, 173 F.3d at 199. See also

Clientron Corp. v. Devon IT, Inc., 154 F. Supp. 3d 132, 145 (E.D. Pa. 2015) (citing Witkowski,

173 F.3d at 199).

        Here, Mitnick Law participated in the arbitration, presented evidence and argument,

including on the specific issue of disqualification. Judge Orlando ruled on the issue, and the ruling

was subsumed into the final award. The preclusion elements are all satisfied. As the subpoena

plainly aims at re-litigating the final determination of the disqualification issue, it is improper and

should be quashed.

        Mitnick Law’s abandonment and waiver of the disqualification issue is yet another reason

why the subpoena is improper and should be quashed. When Judge Orlando denied the motion to

disqualify, he did so without prejudice. The order allowed Mitnick Law the opportunity to take

discovery on the issue and to renew the motion later in the arbitration. Mitnick Law chose not to
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do that, and instead continued in the arbitration for another year through the hearing and final

award. Given this knowing and intentional waiver, Mitnick Law should not be heard on such

matters in this proceeding and has no proper basis to pursue the discovery.

        C.      The Subpoena Seeks Attorney-Client Privileged, Attorney Work Product, and
                Other Improper Materials

        A subpoena may be quashed on a “timely motion.” Fed. R. Civ. P. 45(d)(3). The court

“must” quash or modify any subpoena that requires the disclosure of privileged or other protected

material, if no exception or waiver applies, or if it subjects a person to undue burden. Rule

45(d)(3)(A)(iii), (iv).

        The attorney-client privilege precludes discovery of confidential communications between

attorney and client for the purpose of obtaining or providing legal assistance for the client. In re

Teleglobe, 493 F.3d 345, 359 (3d Cir. 2007). The purpose of the privilege is to “encourage full

and frank communications between attorneys and their clients.” Upjohn Co. v. U.S., 449 U.S. 383,

389 (1981). The privilege protects all communications by and between Balanced Bridge and Fox

Rothschild for purposes of, or facilitating, the provision of legal advice and/or communication

reflecting the thoughts, mental impressions, or strategy of counsel and counsel’s agents. See

BouSamra v. Excela Health, 210 A.3d 967, 983 (Pa. 2019); see also Teleglobe, 493 F.3d at 359.

        Fed. R. Civ. P. 26(b)(3)(A) and (B) preclude the discovery of materials prepared in

anticipation of litigation containing the mental impressions, conclusions, opinions, or legal

theories of attorneys or other representatives. The attorney work product doctrine protects the files

of counsel from examination by the opponent. BouSamra, 210 A.3d at 974. “The purpose of the

work product doctrine is to protect the mental impressions and processes of an attorney acting on

behalf of a client, regardless of whether the work product was prepared in anticipation of

litigation.” Id. at 976.
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        The subpoena at issue plainly aims at invading confidential attorney-client

communications and attorney work product in a summary proceeding without any legitimate basis

to do so. In purporting to require “all” such materials in a representation that has spanned several

years, along with additional volumes of materials of a privileged and confidential nature, the

subpoena seeks to impose an undue burden through an onerous document gathering and production

process where there is no legitimate basis for the discovery in the first place.

IV.     Conclusion

        Mitnick Law’s subpoena should be quashed because such discovery is not appropriate for

this summary action to confirm the arbitration award. Mitnick Law received a full and fair

adjudication of the dispute in arbitration, including the disqualification argument that is the subject

of the subpoena, and waived the issue by failing to further pursue it in arbitration despite the

opportunity to do so. There is simply no basis for the Court to allow Mitnick Law to engage in

any discovery, let alone invade volumes of attorney-client privileged materials and attorney work

product. The subpoena should be quashed on this basis as well.

Date: February 25, 2022                               Respectfully submitted,

                                                      /s/ Eric E. Reed
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that, on February 25, 2022, he filed the foregoing with the Court

using the ECF system, which will provide notice and a copy to counsel of record.

                                            /s/ Eric E. Reed




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